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                 Exhibit A
             DECLARATION OF LAURA HALE




                 Exhibit A
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 8

 9
                           IN THE UNITED STATES DISCTRICT COURT
10
                                        DISTRICT OF NEVADA
11
                                                    *****
12
       FAIR MAPS NEVADA, a Nevada                     Case No.:
13     political action committee, SONDRA
       COSGROVE, DOUGLAS GOODMAN,
14     and ROBERT MACDONALD,                           DECLARATION OF LAURA HALE
                                                       IN SUPPORT OF PLAINTIFFS’
15                                                     MOTION FOR PRELIMINARY
                    Plaintiffs,                        INJUNCTION
16
       v.
17
       BARBARA CEGAVSKE, in her official
18     capacity as Nevada Secretary of State,
       JOSEPH P. GLORIA, in his official
19     capacity as Clark County Registrar of
       Voters, DEANNE SPIKULA, in her
20     official capacity as Washoe County
       Registrar of Voters, KRISTINA
21     JAKEMAN, in her official capacity as
       Elko County Clerk, SADIE SULLIVAN,
22     in her official capacity as Lander County
       Clerk, LACEY DONALDSON, in her
23     official capacity as Pershing County
       Clerk-Treasurer, VANESSA STEVENS,
24     in her official capacity as Storey County
       Clerk-Treasurer, NICHOLE BALDWIN,
25     in her official capacity as White Pine
       County Clerk, SANDRA MERLINO, in
26     her official capacity as Nye County Clerk,
       TAMMI RAE SPERO, in her official
27     capacity as Humboldt County Clerk,
       KATHY LEWIS, in her official capacity
28
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 1     as Douglas County Clerk-Treasurer,
       LINDA ROTHERY, in her official
 2     capacity as Churchill County Clerk-
       Treasurer, LACINDA ELGAN, in her
 3     official capacity as Esmeralda County
       Clerk-Treasurer, LISA C. LLOYD, in her
 4     official capacity as Lincoln County Clerk,
       LISA HOEHNA, in her official capacity
 5     as Eureka County Clerk, CHRISTOPHER
       NEPPER, in his official capacity as
 6     Mineral County Clerk-Treasurer, NIKKI
       BRYAN, in her official capacity as Lyon
 7     County Clerk-Treasurer, and AUBREY
       ROWLATT, in her official capacity as
 8     Carson City Clerk-Recorder,

 9
                     Defendants.
10                                          ___/

11

12           I, Laura Hale, declare as follows:
13    1.     I am over the age of eighteen (18) years.      I have personal knowledge of the matters
14    contained in this declaration except where stated upon information and belief, and as to those
15    matters, I believe them to be true. I make this declaration in support of Plaintiffs’ Motion for
16    Preliminary Injunction (“Motion”).
17    2.     I am a resident of Carson City, Nevada. I am an officer of the Political Action Committee
18
      for Fair Maps Nevada, on behalf of Indivisible Northern Nevada.
19
      3.     Fair Maps is a Nevada Committee for Political Action Advocating Passage or Defeat of a
20
      Ballot Question registered pursuant to NRS 294A.230. Fair Maps’ address is PO Box 751271,
21
      Las Vegas, Nevada 89136.
22

23    4.      On November 4, 2019, Fair Maps filed Initiative Petition C-02-2019 pursuant to Article

24    19, Section 2. If enacted, the Initiative will amend the Nevada Constitution to provide for a
25    redistricting commission to map electoral districts for the Nevada Senate, Assembly and U.S.
26
      House of Representatives.
27

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 1    5.     On November 26, 2019, a lawsuit was brought challenging the legal sufficiency of the

 2    description of effect appended to the initiative. On January 7, 2020, Fair Maps filed Amended
 3
      Initiative Petition C-02-2019 (the “Initiative”) to reflect changes made to the description of effect
 4
      following resolution of the case in district court.
 5
      6.     Fair Maps is responsible for organizing and managing the circulation of the Initiative for
 6
      signature and qualifying it for the November ballot. While Fair Maps continued and will continue
 7

 8    to gather signatures in support of the Initiative, the challenger to the Initiative appealed to the

 9    Nevada Supreme Court where issues relating to the Initiative remain pending.
10    7.     In order for the Initiative to qualify for the ballot, 97,598 valid signature must be verified.
11
      Because not all signatures can be verified, in reality many more signatures need to be gathered.
12
      8.     The COVID-19 pandemic (the “Pandemic”) and associated social distancing requirements
13
      have made it highly unlikely that Fair Maps will be able to collect the signatures necessary to
14

15    qualify the Initiative for the ballot in a traditional in-person manner.

16    9.     Under normal circumstances, signatures are gathered using a variety of methods, all of

17    which require interpersonal contact inconsistent with social distancing guidance and mandates
18    issued by State, local and federal government.
19
      10.    Eligible voters are contacted door-to-door at their homes, in front of retail establishments,
20
      restaurants and entertainment venues, or in or around government buildings to solicit their interest
21
      in signing a petition. If, after a brief conversation, an individual is interested in signing the
22

23    petition, the person signs the same piece of paper—most likely using the same pen—that others

24    have signed, and goes about their business.

25    11.    Fair Maps had planned to contact signers at all of the above-referenced locations—by
26
      going door-to-door, contacting signers in front of busy retail establishments, restaurants,
27
      entertainment venues and government buildings.
28


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 1    12.     Fair Maps can no longer contact voters in the manner it contemplated. Nevadans have

 2    been ordered to stay at home. Most government buildings are closed. Restaurants, bars and
 3
      entertainments venues are closed. Many retail establishments are closed. Public events have been
 4
      canceled en masse. People are prohibited from gathering in parks in substantial numbers, and
 5
      individuals must adhere to the extent practicable to a six foot social distancing limitation.
 6
      13.      Consequently, individuals eligible to sign the Initiative have drastically limited their
 7

 8    public engagement, resulting in fewer individuals being available to sign the Initiative. Beyond

 9    that, for those individuals that do venture out it is practically impossible to obtain a signature on
10    the initiative without breaching the six-foot social distancing limit.
11
      14.     Furthermore, attempts to gather signatures subject petition circulators and the general
12
      public to health risk, and expose circulators to potential criminal and civil liability. This risk is
13
      heightened for circulators and voters with preexisting conditions that give rise to a heightened risk
14

15    of COVID-19 complications. As a result, it is difficult to identify individual circulators and voters

16    willing to circulate the Initiative.

17    15.     The difficulty of gathering the requisite signatures in the current environment is
18    exacerbated by the fact that there is no clear indication when the social distancing mandates will
19
      be lifted—to say nothing of when Nevadans will feel comfortable leaving their homes and
20
      engaging with signature gatherers.
21
      16.     It is my understanding that Governor Sisolak has extended his own stay-at-home order
22

23    through at least May 15, 2020, and he has said that further easing of the social distancing

24    restrictions will only occur if certain as yet to be obtained benchmarks are met. Consequently, it

25    is unlikely that social distancing will be eased in time for Plaintiffs to qualify the Initiative for the
26
      November ballot in the traditional manner by June 24, 2020.
27

28


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